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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DANIEL VALENTI, et al.,                             Case No. 21-cv-06118-JD
                                                        Plaintiffs,
                                   8
                                                                                             ORDER RE LEAD COUNSEL
                                                 v.
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                                  10     DFINITY USA RESEARCH LLC, et al.,
                                                        Defendants.
                                  11

                                  12          This case is a securities fraud class action against defendants Dfinity USA Research LLC;
Northern District of California
 United States District Court




                                  13   Dfinity Foundation; and individual defendant Dominic Williams, the CEO of Dfinity USA and

                                  14   founder of Dfinity Foundation. Dkt. No. 45 ¶¶ 15-16, 18-19. The operative complaint alleges that

                                  15   defendants did not register Dfinity’s cryptocurrency “ICP tokens” as a security with the U.S.

                                  16   Securities and Exchange Commission (SEC), and “reaped billions of dollars in profits” by

                                  17   unlawfully “selling and promoting these unregistered security tokens to investors, and by

                                  18   transacting in them while in possession of material, non-public information.” Id. ¶¶ 1-4. The

                                  19   complaint presents eight causes of action under Sections 5, 12(a)(1) and 15 of the Securities Act;

                                  20   Section 10(b) of the Exchange Act and corresponding SEC Rule 10b-5; and Sections 20A and

                                  21   20(a) of the Exchange Act. Id. ¶¶ 152-245.

                                  22          The case is subject, like all private federal securities actions, to the provisions of the

                                  23   Private Securities Litigation Reform Act of 1995 (PSLRA), Pub. L. No. 104-67. It proceeded

                                  24   apace under the PSLRA, with the appointment of Henry Rodriguez as lead plaintiff and the Roche

                                  25   Freedman LLP law firm as lead counsel for the putative class, Dkt. No. 42, and the initial stay of

                                  26   discovery pending the resolution of defendants’ motion to dismiss, Dkt. No. 62. The case then

                                  27   took a dramatic turn that put the normal course of litigation on hold. See Dkt. Nos. 72, 73. Before

                                  28   the hearing on the motion to dismiss, defendants asked to disqualify the law firm of Roche
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                                   1   Freedman LLP based on concerns gleaned from a variety of sources. Dkt. No. 72. Shortly after

                                   2   that, a district court in the Southern District of New York issued an order that terminated Roche

                                   3   Freedman LLP as a lead counsel in an unrelated securities action. See In re Tether and Bitfinex

                                   4   Crypto Asset Litigation, No. 19-cv-09236-KPF, Dkt. No. 253 (S.D.N.Y. Oct. 28, 2022); Valenti

                                   5   Dkt. No. 77-2.

                                   6          Since then, the parties have waged a bitter war over lead counsel in this case, with charges

                                   7   of personal vendettas, deepfake videos, and other events not typically encountered in securities

                                   8   lawsuits. Along the way, Roche Freedman LLP was reconstituted as Freedman Normand

                                   9   Friedland LLP (FNF), consisting of most of the prior firm’s attorneys. FNF was never appointed

                                  10   lead counsel in this case, and has not formally sought appointment under the PSLRA. Even so,

                                  11   the parties have in effect treated FNF as though it were lead counsel, and the dispute has focused

                                  12   on whether it should be retained in that role.
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                                  13          The Court held a hearing on Dfinity’s disqualification motion, at which it emphasized that

                                  14   the question would be answered under Rule 23 of the Federal Rules of Civil Procedure, the

                                  15   PSLRA, and the Court’s oversight of the rights and interests of absent class members. Dkt. No.

                                  16   86. The Court directed the parties to engage in targeted discovery with respect to disqualification,

                                  17   and to file supplemental briefs on the issue. Id. After consideration of these materials, and the

                                  18   record as a whole, the Court concludes that an appointment of FNF is not in the best interests of

                                  19   the class. The lead plaintiff will have an opportunity to propose new class counsel.

                                  20                                             BACKGROUND

                                  21          The class action complaint was initially filed in August 2021 by plaintiff Daniel Valenti,

                                  22   with Roche Freedman LLP as his counsel. Dkt. No. 1. As required by the PSLRA, 15 U.S.C.

                                  23   § 78u-4(a)(3)(A), Valenti and his counsel published a notice of pendency that advised putative

                                  24   class members of an October 12, 2021 deadline to seek appointment as lead plaintiff in the action.

                                  25   Dkt. No. 8.

                                  26          A motion seeking appointment was filed by Henry Rodriguez, another investor represented

                                  27   by Roche Freedman LLP. Dkt. No. 21. Rodriguez said he was “the ‘most adequate’ plaintiff

                                  28   because, to his knowledge, he had the largest financial interest in this matter and satisfied the
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                                   1   typicality and adequacy requirements set forth in Federal Rule of Civil Procedure 23.” Id. at 6-7.

                                   2   Rodriguez asked the Court to appoint Roche Freedman as lead counsel, stating his belief that the

                                   3   firm “is fully capable of litigating this case.” Id. at 9-11. The motion featured attorney Kyle

                                   4   Roche in particular, stating that “Mr. Roche, a lead attorney from Roche Freedman, is a

                                   5   recognized thought leader in the industry,” having “published multiple articles on the intersection

                                   6   of cryptoassets and law,” served as “a frequent speaker and lecturer on the topic,” and

                                   7   “represent[ed] plaintiffs in some of the most significant disputes in the crypto industry.” Id.

                                   8          On December 20, 2021, the Court issued an order appointing Henry Rodriguez as lead

                                   9   plaintiff and approving his “selected and retained counsel, Roche Freedman, to serve as lead

                                  10   counsel for the putative class in the action.” Dkt. No. 42. On February 3, 2022, lead plaintiff

                                  11   Rodriguez and plaintiff Valenti together filed an amended class action complaint, which is the

                                  12   operative complaint in this case. Dkt. No. 45.
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                                  13          After filing a motion to dismiss (which is fully briefed but remains sidelined by the class

                                  14   counsel dispute), Dfinity filed on October 4, 2022, a motion to disqualify plaintiffs’ counsel. Dkt.

                                  15   No. 72. Acknowledging that this is a “putative class action governed by Fed. R. Civ. P. 23 and the

                                  16   PSLRA,” Dfinity asked that “Roche Freedman be disqualified from representing lead plaintiff and

                                  17   the putative class in this action.” Id. at 14-15. Dfinity pointed to a “report and a series of video

                                  18   clips” released by Crypto Leaks in August 2022 “in which Mr. Roche describes his firm’s close

                                  19   ties to Ava Labs -- a company that develops a blockchain called Avalanche -- and its executives,

                                  20   his financial interest in Ava Labs, and his firm’s improper use of litigation against Ava Labs’

                                  21   competitors” such as Dfinity. Id. at 3. Defendants highlighted Roche’s statements in these videos

                                  22   that “Roche Freedman files class action lawsuits against Ava Labs’ competitors” as a “‘tool to

                                  23   competition’”; Roche “acts as ‘Ava Labs’ crypto expert’” by utilizing expertise gained from suing

                                  24   other cryptocurrency companies and “‘see[ing] the[ir] insides’” in discovery; Roche makes sure

                                  25   that “‘the SEC and CFTC have other magnets to go after’ instead of Ava Labs”; and he uses

                                  26   litigation “to enforce the personal vendettas of Ava Labs CEO, Emin Gün Sirer.” Id. at 4-6.

                                  27   Dfinity said that these statements called for plaintiffs’ counsel’s disqualification because they

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                                   1   show that Roche’s “personal interest and loyalties to Ava Labs come before, and predominate

                                   2   over, the interests of the putative class.” Id. at 9.

                                   3           Even before defendants had filed the disqualification motion, attorney Roche had filed a

                                   4   notice of withdrawal as counsel on the docket. Dkt. No. 70. The notice stated that Roche “is no

                                   5   longer involved in [Roche Freedman’s] class action practice and is therefore withdrawing as

                                   6   counsel of record in this case.” Id. Defendants argued in their motion that Roche’s individual

                                   7   withdrawal was insufficient to resolve the issues because, inter alia, Roche could still “direct the

                                   8   conduct of other lawyers at the firm”; other lawyers at the firm “own substantial amounts of

                                   9   AVAX tokens”; and the size of the firm is small and there is a “widespread relationship with Ava

                                  10   Labs.” Dkt. No. 72 at 11-12.

                                  11           By the time it filed an opposition to defendants’ motion, Roche Freedman had changed to

                                  12   Freedman Normand Friedland LLP (FNF). Dkt. No. 76; see also Dkt. No. 78. FNF’s opposition
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                                  13   argued that there was evidence suggesting that defendants had “secretly launched CryptoLeaks,”

                                  14   the anonymous website that had hosted the Kyle Roche videos, and that defendants had likely

                                  15   hired the man who “set up [a meeting with Roche] under false pretenses” and then “secretly

                                  16   record[ed]” him. Dkt. No. 76 at 3-5. At the same time, FNF stated that this “factual background

                                  17   is not intended to offer an excuse for Mr. Roche’s statements; the statements are not excusable.

                                  18   Although the statements are false, FNF is deeply concerned by the suggestion that Mr. Roche

                                  19   engaged in unethical conduct,” and “[t]o address those concerns, and considering his inappropriate

                                  20   statements,” Roche was “no longer with the firm.” Id. at 6. Similarly, a declaration from Kyle

                                  21   Roche that was submitted with the opposition “acknowledge[d] that, during the videos, I made

                                  22   statements that were highly inappropriate and that I deeply regret.” Dkt. No. 76-15 (Roche Decl.)

                                  23   ¶ 5. Roche stated that he was “no longer representing Ava Labs in any matter, and as of October

                                  24   17, 2022, I am no longer a member of Roche Freedman LLP, which is now known as Freedman

                                  25   Normand Friedland LLP. I am now practicing law at Kyle Roche P.A.” Id. ¶ 8.

                                  26           At the hearing, the Court made clear that, even though defendants had invoked the

                                  27   California Rules of Professional Conduct in their motion, the Court found it more appropriate to

                                  28   view this issue through the lens of “Rule 23 and the PSLRA,” with the paramount goal of
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                                   1   “protecting the putative class and the named plaintiffs . . . with counsel who are going to have an

                                   2   untarnished allegiance on a fiduciary duty basis to the putative class and the named plaintiffs.”

                                   3   Dkt. No. 91 (Hrg. Tr.) at 2:15-20. The Court noted that the most relevant inquiry was whether

                                   4   “there is a conflict between the current law firm without . . . Mr. Roche, and the putative class or

                                   5   the named plaintiffs.” Id. at 10:10-13. The Court also voiced the concern that, for example, “an

                                   6   opportunity to settle the case on terms favorable to the putative class” might present itself,

                                   7   but Roche might have “had such a vendetta against the defendant because of his allegiance to”

                                   8   Ava Labs, that he might have refused to settle in favor of “some strategic value in not settling for

                                   9   Ava Labs,” in which case “an opportunity to resolve would be lost.” Id. at 11:11-16. The Court

                                  10   asked how the reconstituted FNF firm would abate that and similar concerns. Attorney Edward

                                  11   Normand for FNF emphasized throughout the hearing that attorney Roche “is out” and is “not part

                                  12   of the firm anymore,” id. at 4:17-18, 12:2-3, and that there were “no deeper ties” between FNF
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                                  13   and Ava Labs than the record already indicated. Id. at 12:9. Attorney Normand stated that “[t]he

                                  14   firm does not have an equity stake in Ava Labs,” and though “[s]everal partners at the firm were

                                  15   paid in AVAX tokens,” there was “no connection between that payment and how this lawsuit’s

                                  16   going to be prosecuted.” Id. at 12:19-25. Because the Court lacked clarity on FNF’s existing ties

                                  17   with Ava Labs, the Court ordered a focused Rule 30(b)(6) deposition of FNF on a handful of

                                  18   topics most relevant to FNF’s ability to proceed on behalf of the class. Id. at 25:21-35:4.

                                  19          The Rule 30(b)(6) deposition was taken, and the parties have filed supplemental briefs.

                                  20   Dkt. Nos. 100, 101. Many other filings have been made, as the litigation of this issue has taken on

                                  21   a life of its own. FNF filed a discovery dispute letter requesting to designate the FNF deposition

                                  22   transcript as “Attorneys’ Eyes Only,” in part because of an alleged threat defendants made as to

                                  23   Roche, Dkt. No. 98, and defendants responded with a motion to strike the statements about the

                                  24   alleged threat, Dkt. No. 104. Plaintiffs also filed an administrative motion for leave to file a notice

                                  25   of supplemental evidence in opposition to defendants’ motion to disqualify. Dkt. No. 109. The

                                  26   motion requests leave to file an expert report which, FNF says, “explains that many of the videos

                                  27   on which defendants rely” may be the product of “deepfake technology.” Id. at 1. Dfinity

                                  28   opposes the request. Dkt. No. 111.
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                                   1                                              DISCUSSION

                                   2   I.     FNF MAY NOT SERVE AS LEAD COUNSEL
                                   3          As the Court has advised the parties, the salient inquiry here is not whether attorney Roche

                                   4   and FNF violated the California Rules of Professional Conduct, as defendants initially framed the

                                   5   issue. Dkt. Nos. 72, 91. The question is more appropriately considered under the PSLRA and

                                   6   Rule 23. The PSLRA provides that “[t]he most adequate plaintiff shall, subject to the approval of

                                   7   the court, select and retain counsel to represent the class.” 15 U.S.C. § 78u-4(a)(3)(B)(v). Rule

                                   8   23(g) provides that the Court may appoint as class counsel an applicant who can fairly and

                                   9   adequately represent the interests of the class. See Fed. R. Civ. P. 23(g)(1)(B) (in appointing class

                                  10   counsel, court “may consider any other matter pertinent to counsel’s ability to fairly and

                                  11   adequately represent the interests of the class”); Rule 23(g)(2) (court may appoint an applicant as

                                  12   class counsel “only if the applicant is adequate under Rule 23(g)(1) and (4)”), Rule 23(g)(4)
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                                  13   (“Class counsel must fairly and adequately represent the interests of the class”); see also Rule

                                  14   23(g)(3) (“court may designate interim counsel to act on behalf of a putative class before

                                  15   determining whether to certify the action as a class action”). Our circuit has noted that “[t]he

                                  16   responsibility of class counsel to absent class members whose control over their attorneys is

                                  17   limited does not permit even the appearance of divided loyalties of counsel.” Rodriguez v. West

                                  18   Publishing Corp., 563 F.3d 948, 968 (9th Cir. 2009) (quotations omitted). The Court is also

                                  19   mindful that it has its own independent duty to protect the interests of the absent class members.

                                  20   See, e.g., Allen v. Bedolla, 787 F.3d 1218, 1223 (9th Cir. 2015).

                                  21          All of these factors inform the Court’s consideration of whether the lead counsel order,

                                  22   Dkt. No. 42, should be terminated and new counsel appointed. The Court has the inherent

                                  23   authority to reconsider any of its interlocutory orders, City of Los Angeles, Harbor Div. v. Santa

                                  24   Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001), and Rule 23(g)(1)(E) also provides that the

                                  25   Court may “make further orders in connection with [any class counsel] appointment.”

                                  26          The record warrants two conclusions. One is that the reconstituted FNF firm is not nearly

                                  27   as independent of Kyle Roche or Ava Labs as FNF suggests. To start, attorney Devin M. “Velvel”

                                  28   Freedman, who was designated as FNF’s Rule 30(b)(6) witness, testified that “FNF is a rename.
                                                                                         6
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                                   1   It’s just a name change of what was Roche Cyrulnik Freedman and then . . . well, Roche

                                   2   Freedman, then Roche Cyrulnik Freedman, Roche Freedman. We’ve had a number of changes to

                                   3   the name, but it’s the same entity that was formed in August of 2019.” Dkt. No. 99-4 (Freedman

                                   4   Depo.) at 9:22-10:2. And the firm’s dealings with Roche are far from over. Pursuant to the firm’s

                                   5   engagement agreement with Ava Labs several years ago, AVAX tokens were delivered to a single

                                   6   public address that is controlled by Freedman and Roche, and those tokens will unlock at a certain

                                   7   monthly rate for many years into the future. Id. at 24:21-34:8. Freedman testified that these

                                   8   “tokens belong to Mr. Roche and I, pursuant to agreements signed with Ava Labs in late 2019, but

                                   9   there are subsequent agreements between, for example, myself and Mr. Normand, and myself and

                                  10   Mr. Friedland, that obligate -- and Mr. Roche -- that obligate us contractually to pay some of those

                                  11   tokens to them.” Id. at 35:16-21. Roche is hardly out of the picture when there are currently over

                                  12   a million AVAX tokens “sitting in a public address that is controlled by [Freedman] or [] Roche,”
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                                  13   with thousands more unlocking each month, and “technically, 50 percent belong to [Roche],

                                  14   subject to various claims” by current and former FNF partners. Id. at 44:25-45:10. In addition,

                                  15   FNF is co-counsel with Roche in three active matters, id. at 75:3-7, and another potential matter

                                  16   that has not yet been filed but for which there is a signed retention agreement that includes both

                                  17   FNF and Roche. Id. at 77:22-78:18. Freedman is still “personal friends with” Roche and their

                                  18   “wives are friends,” id. at 82:7-15, and Freedman agreed it was fair to say that he was “still in

                                  19   contact with [Roche] regularly” since Roche’s departure. Id. at 105:4-14.

                                  20          The other conclusion driven by the record is that there is serious doubt about the ability of

                                  21   FNF to litigate this case in the best interests of the class. FNF’s docket entries manifest undue

                                  22   attention to its own interests and concerns, with scant mention of the class and its claims. FNF’s

                                  23   discovery dispute letter, Dkt. No. 98, and ensuing motion to strike briefing illustrate the problem.

                                  24   In the discovery letter, FNF said that its 30(b)(6) deposition transcript needed to be designated

                                  25   “attorneys’ eyes only” because, among other reasons, “FNF reasonably believes that defendants

                                  26   will either publicize the deposition testimony or otherwise use it to harm FNF and others.” Id. at

                                  27   2. FNF went on to say that “defendants apparently have . . . made threats on Mr. Roche’s life,

                                  28   necessitating FBI involvement,” and that this is “consistent with what FNF believes is a pattern of
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                                   1   vindictive and dangerous behavior from defendant Williams, who has previously offered

                                   2   ‘reward[s]’ to those who expose his critics’ identities, and allegedly engaged in domestic

                                   3   violence.” Id. at 3 (internal citations omitted). These grave and inflammatory accusations were

                                   4   not necessary for FNF’s sealing request, certainly not in that form. Defendants responded by

                                   5   asking to strike the statements about the “threats on Mr. Roche’s life” as “improper and

                                   6   unsupported,” and “scandalous.” Dkt. No. 104. In response, FNF submitted the declaration of

                                   7   Eric Rosen, a partner at FNF and its general counsel, to the effect that he had “learned from an

                                   8   associate at FNF that employees and/or owners of Dfinity were planning and/or discussing

                                   9   physically harming Mr. Roche.” Dkt. No. 108-1 (Rosen Decl.) ¶ 3. The FNF associate had

                                  10   acquired this ostensible information from a “friend, who is a lawyer in New York,” and the friend

                                  11   in turn had heard from others that “they had learned from others that people associated with

                                  12   Dfinity were planning to kill Mr. Roche.” Id. ¶ 6. Attorney Rosen also stated that the relayed
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                                  13   information included “that Mr. Roche was being targeted because he was ‘messing with people’s

                                  14   money,’ referring to this lawsuit against defendants,” and that Rosen had “provided this

                                  15   information to the FBI to seek advice on what needed to be done, if anything, to secure

                                  16   Mr. Roche’s safety.” Id. ¶¶ 6, 8.

                                  17          The Court need not determine the truth of attorney Rosen’s statements or the multiple

                                  18   levels of hearsay on which they are based. What matters for present purposes is that FNF and its

                                  19   lawyers remain deeply immersed in a toxic perception of the defendants in this case, to the extent

                                  20   of accusing defendants of an intent to commit murder or cause serious bodily harm. There is no

                                  21   way the attorneys at FNF will be able to adequately discharge their fiduciary duties to the class as

                                  22   a whole in these circumstances. FNF’s litigation strategy and conduct will be subject to constant

                                  23   second-guessing on the basis of its extreme animosity toward defendants, and the record provides

                                  24   no assurance that FNF would be able to put its views to the side in service to the class.

                                  25          The record has other powerful indications that the best interests of the class are not in the

                                  26   forefront of FNF’s priorities. Another example is in FNF’s request to show that “many of the

                                  27   videos on which defendants rely are the product of manipulation, are inauthentic, and contain

                                  28   indicators consistent with the use of deepfake technology.” Dkt. No. 109 at 1. This is a complete
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                                   1   flipflop from FNF’s prior representations that it would not “offer an excuse for Mr. Roche’s

                                   2   statements; the statements are not excusable,” and that “[t]o address those concerns, and

                                   3   considering his inappropriate statements, Mr. Roche is no longer with the firm.” Dkt. No. 76 at 6.

                                   4   Attorney Roche expressly “acknowledge[d] that, during the videos, I made statements that were

                                   5   highly inappropriate and that I deeply regret.” Dkt. No. 76-15 ¶ 5. In effect, FNF has renounced

                                   6   these forthright representations in favor of alleging that the whole thing was a fake. This

                                   7   underscores the concern that FNF is heavily invested in protecting its own interests, to the

                                   8   detriment of those of the class.

                                   9          There are serious consequences that plausibly could flow from FNF’s fixation with its own

                                  10   affairs. At the motion hearing, the Court posited that “an opportunity to settle the case on terms

                                  11   favorable to the putative class [might] present[] itself” but that FNF might have “such a vendetta

                                  12   against the defendant” that it might pass on the opportunity to settle, to the detriment of the class.
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                                  13   Hrg. Tr. at 11:11-17. The evidence developed after the hearing has made this concern even more

                                  14   pressing. Countless other litigation decisions may be adversely influenced in the same way.

                                  15          Overall, the record demonstrates that FNF is unduly focused on “defendants’ animosity

                                  16   toward plaintiffs’ counsel,” which it has raised at every possible turn. See, e.g., Dkt. No. 102 at 4

                                  17   (plaintiffs’ motion to seal). The Court concludes that FNF is not able to “fairly and adequately

                                  18   represent the interests of the class.” Fed. R. Civ. P. 23(g)(4). To the extent the prior appointment

                                  19   of Roche Freedman LLP, Dkt. No. 42, was a basis for FNF to be deemed lead counsel, the

                                  20   appointment is withdrawn and the order is dissolved with respect to counsel. Henry Rodriguez

                                  21   remains lead plaintiff. Defendants’ disqualification motion, Dkt. No. 72, is terminated in all other

                                  22   respects.

                                  23   II.    PENDING SEALING AND ADMINISTRATIVE MOTIONS
                                  24          FNF’s request for a protective order designating its 30(b)(6) deposition transcript as

                                  25   “Attorneys’ Eyes Only,” Dkt. No. 98, is granted. To be clear, FNF’s statements about defendants’

                                  26   alleged threats as to Roche, id. at 3, played no role in the Court’s analysis. But even without that

                                  27   unnecessary detail, the requested sealing is appropriate because the deposition transcript is wholly

                                  28   “unrelated to the merits of” the “underlying cause[s] of action” in this case. Center for Auto Safety
                                                                                          9
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                                   1   v. Chrysler Group, LLC, 809 F.3d 1092, 1097-99 (9th Cir. 2016). And the filings received from

                                   2   both sides sufficiently indicate the possibility that the deposition transcript could be used “to

                                   3   ‘gratify private spite or promote public scandal,’” or cause “annoyance” or “embarrassment” to

                                   4   FNF, which ultimately is not a party to the underlying action. Id. For the same reasons,

                                   5   defendants’ motion to seal, Dkt. No. 99, is granted to the extent requested by FNF, Dkt. No. 105-

                                   6   1. FNF’s motion to seal, Dkt. No. 102, is also granted.

                                   7          Defendants’ motion to strike FNF’s statements about the alleged threats on Roche, Dkt.

                                   8   No. 104, is granted for the reasons already discussed. FNF’s motion for leave to file a notice of

                                   9   supplemental evidence, Dkt. No. 109, is denied.

                                  10                                              CONCLUSION

                                  11          Lead plaintiff Henry Rodriguez may propose alternate lead counsel for the Court’s

                                  12   consideration and approval by August 7, 2023. A status conference is set for August 17, 2023, at
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                                  13   10:00 a.m. in Courtroom 11, 450 Golden Gate Ave., San Francisco. The case is stayed and will be

                                  14   administratively closed in the interim.

                                  15          The record indicates that Ocampo v. Dfinity USA Research LLC et al., Case No. 21-cv-

                                  16   03843 in the Superior Court of California, County of San Mateo, is a case that overlaps

                                  17   significantly with this one. See Dkt. Nos. 66, 67. Defendants’ counsel are directed to provide a

                                  18   courtesy copy of this order to plaintiffs’ counsel in the Ocampo action by May 15, 2023.

                                  19          IT IS SO ORDERED.

                                  20   Dated: May 8, 2023

                                  21

                                  22
                                                                                                     JAMES DONATO
                                  23                                                                 United States District Judge
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